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UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
           NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT


         3114 & TITLE - IN RE: AT&T Inc. Customer Data Security Breach Litigation
MDL No. _______

1.    Oral Argument – Check ONE of the following boxes:

              ✔      The attorney designated below shall PRESENT ORAL ARGUMENT at the Panel
                     hearing session on behalf of the designated party or parties. (Note: All attorneys
                     presenting oral argument should be mindful of Panel Rule 11.1(d)(i), which states
                     that:

                             Absent Panel approval and for good cause shown, only those parties to
                             actions who have filed a motion or written response to a motion or order
                             shall be permitted to present oral argument.

                     Also note that Rule 11.1(e) requires counsel with like positions to confer prior to
                     oral argument for the purpose of selecting a spokesperson to avoid duplication
                     during oral argument.)

                     The party or parties listed hereafter will WAIVE ORAL ARGUMENT pursuant to
                     Rule 11.1(b)(i). (Note: A party waiving oral argument need not appear at the
                     hearing session, through counsel or otherwise.)

                     The party or parties listed hereafter will WAIVE ORAL ARGUMENT IF ALL
                     OTHER PARTIES IN THIS MATTER WAIVE ORAL ARGUMENT; otherwise,
                     the attorney designated below shall present oral argument at the Panel hearing
                     session on behalf of the designated party or parties pursuant to Rule 11.1. (Note:
                     In the event of a global waiver, the parties and their counsel need not attend the
                     hearing session.)

2.    Position on Centralization – Check ONE of the following boxes:

                     Support Centralization

                     Oppose Centralization

             ✔       Other See Number 3
                           ____________________________________________________________

3.    Position on Transferee District. If you SUPPORT Centralization or if you OPPOSE
      centralization but ALTERNATIVELY SUPPORT Centralization in a particular venue(s),
      if the Panel orders centralization over your objections, indicate your proposed transferee
      district(s) here:

      ________________________________________________________________________
      Supports Centralization, but in the U.S. District Court for the Northern District of Texas
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4.    Change of Position from Written Response – If your position regarding Centralization or
      the choice of transferee district has changed from the position set forth in your motion or
      written response to the motion or order, check the following box:

5.    Parties Represented – Indicate party name and state whether plaintiff or defendant. Attach
      list if more than one action:
      Plaintiffs Joseph Casey and Raquel Agee



6.    Short Case Caption(s) – Include District(s) and Civil Action No(s). Attach list if more than
      one action:
      Casey v. AT&T, Inc., Case No. 3:24-cv-00803 (N.D. Tex.)



7.    Name and Address of Attorney Designated to Present Oral Argument:

      Stephen R. Basser
      ____________________________________________________
      Name

      Barrack, Rodos & Bacine, 600 West Broadway, Suite 900
      ____________________________________________________
      Law Firm

      San Diego, CA 92101
      __________________________________________            CA
                                                           _____
      City                                                 State


                      (619) 230-0800
      Telephone No.: _____________________________

                     sbasser@barrack.com
      Email Address: _______________________________________________________




4/19/2024
_______________      Stephen R. Basser
                     __________________________            /s/ Stephen R. Basser
                                                           ______________________________
       Date                Printed Name                            Authorized Signature




                                                                             JPML Form 9 (12/15)
